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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
v.                                         ) Criminal Case No: 1:21-cr-00160-TJK
                                           )
CHRISTOPHER KUEHNE, ET. AL.,               )
                                           )
                       Defendants.         )
__________________________________________)



     DEFENDANT KUEHNE’S MOTION TO MODIFY CONDITIONS OF RELEASE
———————————————————————————————————————


Defendant Christopher Kuehne requests a modification of his Conditions of Release and in

support thereof avers as follows:

     • Mr. Christopher Kuehne was placed on pretrial release on February 26, 2021.

     • Mr. Kuehne had not requested any modifications to his conditions since that time.

     • Mr. Kuehne has been fully compliant with his conditions for the past year and a half

       while his charges have been pending.

     • Mr. Kuehne now requests a modification to his conditions of pretrial release —to travel

       to and live in the District of Arizona, where Mr. Kuehne plans to reside beginning in

       September of 2022.

     • Mr. Kuehne’s pretrial supervisor in the District of Columbia does not have an objection

       to this request and advised undersigned counsel that he is deferring to the Court.




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Mr. Kuehne, therefore, requests that “condition (f)” of his Additional Conditions of Release be

amended to include the District of Arizona.



                                              Respectfully submitted,
                                              By Counsel:

                                                     /s/
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                                              Counsel for Defendant
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                         CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on August 24, 2022, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.

                                                    /s/
                                              Marina Medvin, Esq.




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